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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

                                                 )
IN RE: AQUEOUS FILM-FORMING                      )    MDL No. 2: 18-mn-2873-RMG
FOAMS PRODUCTS LIABILITY                         )
LITIGATION                                       )    CASE MANAGEMENT ORDER NO. 1
                                                 )
                                                 )    This Order Relates to All Actions.
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                                                 )
                                                 )

                                      Pretrial Consolidation

1. This Order shall govern all cases (1) transferred to this Court by the Judicial Panel on

   Multidistrict Litigation, pursuant to its Order docketed with this Court on December 7, 2018 ;

   (2) any tag-along actions subsequently transferred to this Court by the Judicial Panel on

   Multidistrict Litigation; and (3) all related cases (i.e., civil actions where plaintiff(s) allege

   injuries or damages caused by groundwater contaminated with chemicals found in aqueous

   film-forming foams products) originally filed in this Court or transferred or removed to this

   Court, including related cases filed in, removed to, or transferred to this Court after the date

   of this Order. All subsequent orders and rulings of this Court with the designation "All

   Actions" entered in 2: 18-mn-2873 shall likewise apply to all cases that are or become a part

   of this multi district litigation ("MDL"), regardless of whether that case was part of this MDL

   when the order is entered.

2. All of the actions described in Paragraph 1 are consolidated for pretrial purposes pursuant to

   Fed. R. Civ. Pro. 42.
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3. This Order shall be filed by the Clerk in each of the related actions pending in this Court and

    in each subsequently filed or transferred action, which is related to and consolidated with this

    action for pretrial purposes.




4. Any paper to be filed in any of these consolidated actions shall be filed with the Clerk of this

    Court and not with the transferor district.

5. All documents served or filed in this action shall bear the same caption as this Order. If a

    document is generally applicable to all consolidated actions, the caption shall include the

    notation, "This Document Relates to All Actions." Such documents shall be filed and
                                    1
    docketed in the master case.

6. If, however, a document is intended to apply only to a particular case or cases, the caption

    shall include the notation, "This Document Relates to [case number(s) of the case(s) to which

    it applies]." Such documents shall be filed and docketed in the master case and docketed in

                                                2
    the particular cases to which it applies.

7. Where counsel for more than one party plan to file substantially identical documents, they

    shall join in the submission of such documents and shall file only one document on behalf of

    all so joined, in accordance with Paragraphs 5 and 6, above.




1
 When filing via ECF in the master case, counsel will be prompted with the question, "Do you
want to spread this docket entry?" If the document relates to all actions, counsel should choose
"No." If counsel has any questions, they should contact the Clerk's office.

2
 When filing via ECF in the master case, counsel will be prompted with the question, "Do you
want to spread this docket entry?" If the document relates only to particular actions, counsel
should choose "Yes" and then select only the appropriate case numbers from the drop-down
menu by holding the "Ctrl" key and clicking each case to which the document relates. If counsel
has any questions regarding the spreading of a docket entry, such as how to determine if a case
number is appropriate and should be selected, they should contact the Clerk's office.

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                                                Counsel

8. Counsel who appeared in the transferor district court prior to the transfer need not enter a

   separate appearance before this Court or apply to proceed pro hac vice.

9. The parties to these consolidated actions are not required to obtain local counsel in this

   district, and the requirements of Rule 83 .I.04 of the Local Civil Rules of this Court are

   waived as to any attorney appearing in these actions who is duly admitted to practice before

   any United States District Court.

10. The Court will take up the appointment of liaison counsel at the initial status conference in

   this action. Liaison counsel will serve as the contact for the Court and shall be authorized to

   receive orders and notices from the Court on behalf of all parties within their liaison group.

   Liaison counsel shall be required to maintain complete files with copies of all documents

   served upon them and shall make such files available to parties within their liaison group

   upon request. Prior to the initial status conference, counsel for each group of parties whose

   interests are similarly aligned shall confer and suggest liaison counsel for the Court' s

   approval.

11. The Court will be guided by the Manual for Complex Litigation, Fourth, approved by the

   Judicial Conference of the United States. The Court directs counsel to familiarize themselves

   with that publication.

                                    Initial Status Conference

12. An initial status conference will be held in this matter on February 25 , 2019 at 10 A.M.

13. Counsel should be prepared to discuss the following matters at this conference:

       a. the appointment of liaison counsel;




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       b. the appointment of lead counsel and committees of counsel for plaintiffs and

            defendants;

       c. how to handle service of documents;

       d. the scheduling of regular status conferences;

       e. the existence and status of any related state cases;

       f.   the existence and status of tag-along cases not yet transferred to this District;

       g. direct filing in this District;

       h. suggestions on coordinating discovery and making discovery available to parties in

            actions that become a part of this MDL at a later date, including whether a document

            depository is appropriate; and

       L    a discovery schedule.

14. Counsel may suggest additional items to be included on the agenda for the initial status

   conference within fourteen days of the date of this Order.

                                             Other Matters

15. Any orders, including protective orders previously entered by this Court or any transferor

   district court, shall remain in full force and effect unless modified by this Court.

16. All discovery proceedings in these actions are stayed until further order of this Court, and all

   deadlines under Rules 26 through 37 of the Federal Rules of Civil Procedure and Rule 26.01

   of the Local Civil Rules of this Court are tolled until the initial status conference.

AND IT IS SO ORDERED.


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                                                       Richard Mark Gergel
                                                       United States District Court Judge
January ~. 2019
Charleston, South Carolina


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